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EXHIBIT 6
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     FBI AUTHORITY TO SEIZE SUSPECTS ABROAD



                                    HEARING
                                           BEFORE THE

                     SUBCOMMITTEE ON
             CIVIL AND CONSTITUTIONAL RIGHTS
                                              OF THE


            COMMITTEE ON THE JUDICIARY
             HOUSE OF REPRESENTATIVES
                    ONE HUNDRED FIRST CONGRESS
                                        FIRST SESSION


                                     NOVEMBER 8, 1989


                                  Serial No. 134




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                             Vast inglon,U. ai. 20520

                                 May 17, 1990




        Honorable Don Edwards
        Committee on the Judiciary
        U.S. House of Representatives
        Washington, D.C. 20515
        Dear Don:
              Yesterday, when I testified before the Judiciary Committee,
        you asked me two questions relating to the binding nature of
        opinions issued by the Department's Office of Legal Counsel
        (OLC). This letter is intended to dispel any confusion which may
        have resulted from my response.
            In your first question, you asked me whether I would be able
       to provide you with a copy of OLC's opinion on extra-territorial
       arrest authority. As I have indicated in a letter I sent to
       Chairman Brooks recently, and in my answer to you yesterday,
       OLC's legal advice to me is analogous to confidential information
       conveyed in the context of a lawyer-client relationship. It is
       therefore not binding, but rather advisory.
            When you next asked me about OLC's 1987 opinion on the
       applicability of the Davis-Bacon Act to leases negotiated by the
       Veterans Administration, now the Department of Veterans Affairs
       (VA), I did not clarify the distinction between advisory opinions
       conveyed to me and OLC opinions issued for the purpose of
       resolving disputes between agencies within the Executive Branch.
       OLC issued its Davis-Bacon Opinion in its latter role, and its
       determination that VA leases of privately owned facilities are
       not covered by the Act is binding on both the Department of Labor
       and the VA, as well as other agencies involved in the dispute.
             OLC has long performed this role, which is reflected in
       Executive Order 12146 (enclosed), issued during the Carter
       Administration and continued in effect ever since. As you can
       see, its purpose was to authorize the Attorney General, and,
       hence, OLC, to resolve legal disputes within the Executive
       Branch. Without the ability to issue binding opinions, OLC's
       review function would have less effect in resolving disputes and
       maintaining a consistent legal position within the Administra-
       tion.
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                               - 2
      I hope the foregoing has clarified matters, and I look
 forward to working with you and your colleagues in the weeks and
 months remaining in this Congress.




                                      Dick Thor   ~uh

                                      Attorney Genera
Enclosure

cc:   Honorable Jack Brooks
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          Cedificatlen of Presidential Proclamations and Executive Orders
        nees. The Attorney General shall receive recommendations of such per.
       sons from any person, commission or organization.
            1-103. The use of commissions to notify the public of vacancies and
       to make recommendations for district judge is encouraged. The Attor.
       ney General shall make public the suggested guidelines for such corn.
       missions.
            1-104. Before making recommendations, the Attorney General shall
      consider whether:
           (a) Public notice of the vacancy has been given and an affirmative
      effort has been made, in the case of each vacancy, to identify qualified
      candidates, including women and members of minority groups;
          (b) The selection process was fair and reasonable;
          (c) The person or persons recommended meet the standards for eval.
      uation set forth in Section 1-2 of this Order.
           1-105. In evaluating proposed nominees, consideration will be given
     to reports of Department of Justice investigations and all other relevant
     information concerning potential nominees and their qualifications.
          1-2. Standards for Evaluating Proposed Nominees.
          1-201. The standards to be used in determining whether a person is
    qualified to serve as a district judge are whether that person:
         (a) Is a citizen of the United States, is a member of a bar of a state,
    territory, possession or the District of Columbia, and is in good stand.
    ing in every bar in which that person is a member;
         (b) Possesses, and has a reputation for, integrity, good character, and
    common sense;
         (c) Is, and has a reputation for being, fair, experienced, even-tern.
    pered and free of biases against any class of citizens or any religious or
   racial group;
        (d) Is of sound physical and mental health;
        (e) Possesses and has demonstrated commitment to equal justice
   under law;
       (r) Possesses and has demonstrated outstanding legal ability and com-
   petence, as evidenced by substantial legal experience, ability to deal
   with complex legal problems, aptitude for legal scholarship and writing,
   and familiarity with courts and their processes;
       (g) Has the ability and the willingness to manage complicated pretrial
   and trial proceedings, including the ability to weigh conflicting testimo-
   ny and make factual determinations, and to communicate skillfully with
  jurors and witnesses.
       1-3. Amendments of Existing Orders
  [Sec. 1-3 amended EO 12059 of May II, 1978, and EO 12084 of Sept. 27, 1978. both of
  which were revoked by EO 12305 of May 5, 1981.J

      Executive Order 12146-Management of Federal legal resources
    SOURtCE: The provisions of Executive Order 12146 of July 18, 1979, appear at 44 FR
  42657, 3 CFR, 1979 Comp., p. 409, unless otherwise noted.
     By the authority vested in me as President by the Constitution and
  statutes of the United States of America, it is hereby ordered as fol-
  lows:
     I-I. Establishment of the Federal Legal Council.
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                        Osepw 2S-Judkdel AdMIbvk.en
      1-101. There is hereby established the Federal Legal Council. which
  shall be composed of the Attorney General and the representativ . of
  not more than 15 other agencies. The agency representative %hall be
  designated by the head of the agency.
      1-102. The initial membership of the Council. in addition to the At-
  torney General, shall consist of representatives designated by the heads
  of the following agencies:
     (a) The Department of Commerce.
     (b) The Department of Defense.
     (c) The Department of Energy.
     (d) The Environmental Protection Agency.
     (e) The Equal Employment Opportunity Commission.
    (1) The Federal Trade Commission.
    (g) The Department of Health, Education, and Welfare. '
    (h) The Interstate Commerce Commission.
    (i) The Department of Labor.
    (j) The National Labor Relations Board.
    (k) The Securities and Exchange Commission.
    (I) "1he Department of State.
    (m) The Department of the Treasury.
    (n) The United States Postal Service and
    (o) the Veterans Administration.
     1-103. The initial members of the Council shall serve for a term of
 two years. Thereafter, the agencies which compose the membership
 shall be designated annually by the Council and at least five positions
 on the Council, other than that held by the Attorney General, shall
 rotate annually.
    1-104. In addition to the above members, the Directors of the Office
 of Management and Budget and the Office or Personnel Management,
 or their designees, shall be advisory members of the Council.
    1-105. The Attorney General shall chair the Council and provide
 staff for its operation. Representatives of agencie,%that are not members
of the Council may serve on or chair sutc-ommittees of the Council.
    1-2. Functions of the Council.
    1-201. The Council shall promote:
   (a) coordination and communication among Federal legal offices;
   (b) improved management of Federal lawyers, associated support
personnel, and information systems:
   (c) improvements in the training provided to Federal lawyers;
   (d) the facilitation of the personal donation of pro bono legal services
by Federal attorneys;
   (e) the use of joint or shared legal facilities in field offices; and
   (f) the delegation of legal work to field offices.
   1-202. The Council shall study and seek to resolve problems in the
efficient and effective management of Federal legal resources that are
beyond the capacity or authority of individual agencies to resolve.
   1-203. The Council shall develop recommendations for legislation
and other actions: (a) to increase the efficient and effective operation
and management of Federal legal resources, including those matters
  I ETrnlAI. NOTE: Redesilmted as the Deparment of Health and Human Services by
Pub. L. 96-88 (93 Stat. 695, 20 U.S.C. 35M).
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          Codification of Presidential Proclamations and Executive Orders
      specified in Section 1-201, and (b) to avoid inconmiient or unnecessary
      litigation by agencies.
          1-3. Litigation Notice System.
          1-301. The Attorney General shall establish and maintain a litigation
      notice system that provides timely information about all civil litigation
      pending in the courts in which the Federal Government is a party or
       as a significant interest.
         1-302. The Attorney General shall issue rules to govern operation of
     the notice system. The rules shall include the following requirement:
         (a) All agencies with authority to litigate cases in court shall prompt.
     ly notify the Attorney General about those cases that fall in classes or
     categories designated from time to time by the Attorney General.
         (b) The Attorney General shall provide all agencies reasonable access
     to the information collected in the litigation notice system.
         1-4. Resolution of Interagency Legal Disputes.
       1-401. Whenever two or more Executive agencies are unable to re-
    solve a legal dispute between them, including tle question of which has
    jurisdiction to administer a particular program or to regulate a particu-
    lar activity, each agency is encouraged to submit the dispute to the At-
    tomey General.
       1-402. Whenever two or more Executive agencies whose heads serve
    at the pleasure of the President are unable to resolve such a legal dis-
    pute, the agencies shall submit the dispute to the Attorney General
    prior to proceeding in any court, except where there is specific statuto-
    ry vesting of responsibility for a resolution elsewhere.
       1-5. Access to Legal Opinions.
       1-501. In addition to the disclosure now required by law, all agencies
    are encouraged to make available for public inspection and copying
    other opinions of their legal officers that are statements of policy or in-
    terpretation that have been adopted by the agency, unless the agency
     determines that disclosure would result in demonstrable harm.
        1-502. All agencies are encouraged to make available on request
     other legal opinions, when the agency determines that disclosure would
     not be harmful.
        1-6. Automated Legal Research and Information Systems.
        1-601. The Attorney General, in coordination with the Secretary of
    Defense and other agency heads, shall provide for a computerized legal
    research system that will be available to all Federal law offices on a
    reimbursable basis. The system may include in its data base such Feder-
    al regulations, case briefs, and legal opinions, as the Attorney General
   deems appropriate.
       1-602. The Federal Legal Council shall provide leadership for all
   Federal legal offices in establishing appropriate word processing and
   management information systems.
       1-7. Responsibilities of the Agencies.
       1-701. Each agency shall (a) review the management and operation
   of its legal activities and report in one year to the Federal Legal Coun-
   cil all steps being taken to improve those operations, and (b) cooperate
   with the Federal Legal Council and the Attorney General in the pre-
   formance of the functions provided by this Order.
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       1.702. To the extent permitted by law, each agency shall furnish the
     Federal Legal Council and the Attorney General with reports. informa-
 -   lion and assistance as requested to carry out the provisions of this
     Order.
              Executive Order 122SO-Leadership and coordination of
                              nondiscrimination laws
       SOUnCE: The provisions of Executive Order 12250 of Nov. 2, 1910. appear of 45 FR
     72995, 3 CFR, 1980 Comp., p 298. unless otherwise noted.
       By the authority vested in me as President by the Constitution and
   statutes of the United States of America, including section 602 of the
   Civil Rights Act of 1964 (42 U.S.C. 2000d-1), Section 902 of the Edu-
   cation Amendments of 1972 (20 U.S.C. 1682), and Section 301 of Title
   3of the United States Code, and in order to provide, under the leader-
   ship of the Attorney General, for the consistent and effective imple-
   mentation of various laws prohibiting discriminatory practices in Feder-
   al programs and programs receiving Federal financial assistance, it is
   hereby ordered as follows:
      I- I. Delegation of Function.
      1-101. The function vested in the President by Section 602 of the
  Civil Rights Act of 1964 (42 U.S.C. 2000d-I), relating to the approval
  of rules, regulations, and orders of general applicability, is hereby dele-
  gated to the Attorney General.
      1-102. The function vested in the President by Section 902 of the
  Education Amendments of 1972 (20 U.S.C. 1682). relating to the ap-
  proval of rules, regulations, and orders of general applicability, is
  hereby delegated to the Attorney General.
      1-2. Coordination of Nondiscrimination Provisions.
     1-201. The Attorney General shall coordinate the implementation
 and enforcement by Executive agencies.of various nondiscrimination
 provisions of the following laws:
     (a) Title VI of the Civil Rights Act of 1964 (42 U.S.C. 2000d et seq.).
     (b) Title IX of the Education Amendments of 1972 (20 U.S.C. 1681 et
 seq.).
    (c) Section 504 of the Rehabilitation Act of 1973, as amended (29
 U.3.C. 794).
    (d) Any other provision of Federal statutory law which provides, in
 whole or in part, that no person in the United States shall, on the
 ground of race, color, national origin, handicap, religion, or sex, be ex-
cluded from participation in, be denied the benefits of, or be subject to
discrimination under any program or activity receiving Federal finan-
cial assistance.
    1-202. In furtherance of the Attorney General's responsibility for the
coordination of the implementation and enforcement of the nondiscrim-
ination provisions of laws covered by this Order, the Attorney General
shall review the existing and proposed rules, regulations, and orders of
general applicability of the Executive agencies in order to identify those
which are inadequate, unclear or unnecessarily inconsistent.

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      39-314 (132)
